   Case 2:21-cv-02562-MAH Document 37 Filed 01/26/22 Page 1 of 1 PageID: 75




UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
---------------------------------------------------------------------------X
 MARIO RODRIGUEZ, individually and on behalf
 of all others similarly situated,                                             Civil Action No. 2:21-cv-02562
                                              Plaintiff,
                                                                               NOTICE OF CHANGE
 -against-

 JR CITY PROPERTIES, LLC, 97 BLEECKER, LLC, 39
 BLEECKER LLC, 37 PATERSON LLC, 355 DANFORTH
 LLC, 6 POPLAR LLC, 18 POPLAR, LLC, 563 CENTRAL,
 LLC, 222 VAN HORNE LIMITED LIABILITY COMPANY,
 1700 BERGENLINE LLC, 228 HANCOCK LLC, JUDITH
 SCIARRA, AND ROBERT NICK,

                                                      Defendants.
--------------------------------------------------------------------------X

    PLEASE TAKE NOTICE that the undersigned hereby requests that the firm address on file
for ECF for this matter of:

Katz Melinger PLLC
280 Madison Avenue, Suite 600
New York, New York 10016

be removed and replaced with the firm address of:

Katz Melinger PLLC
370 Lexington Avenue, Suite 1512
New York, New York 10017

Dated: New York, New York
       January 26, 2022
                                                           KATZ MELINGER PLLC

                                                          By: /s/ Katherine Morales
                                                          Katherine Morales
                                                          370 Lexington Avenue, Suite 1512
                                                          New York, New York 10017
                                                          Telephone: (212) 460-0047
                                                          Facsimile: (212) 428-6811
                                                          kymorales@katzmelinger.com
                                                          Attorneys for Plaintiffs
